                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                                   7:23-CV-897


IN RE:                                                   )
                                                         )
CAMP LEJEUNE WATER LITIGATION                            )     TRIAL ORDER CONFIRMING THE
                                                         )       TRACK 1 TRIAL PLAINTIFFS
This Document Relates to:                                )
Jefferson Criswell v. USA, 7:23-CV-1482-BO               )
Terry F. Dyer v. USA, 7:23-CV-357-D                      )
Mark A. Cagiano v. USA, 7:23-CV-569-BO                   )
Jimmy Laramore v. USA, 7:23-CV-594-FL                    )
Edward Raymond v. USA, 7:23-CV-546-BO                    )
Frank Mousser v. USA, 7:23-CV-667-D                      )
Allan W. Howard v. USA, 7:23-CV-490-FL                   )
David W. Fancher v. USA, 7:23-CV-275-M                   )
David Downs v. USA, 7:23-CV-1145-FL                       j
Jacqueline Tukes v. USA, 7:23-CV-1553-BO        )
Joseph M. Gleesing v. USA, 7:23-CV-1486-FL      )
Vivian Connard, Representative ofStephen        )
Matthew Connard v. USA, 7:23-CV-1557-M          )
Bruce W. Hill v. USA, 7:23-CV-28-M              )
Robert Fiolek v. USA, 7:23-CV-62-BO             )
Karen Marie Amsler v. USA, 7:23-CV-284-BO       )
Frances Carter, Personal Representative of the  )
Estate of Ronald Carter v. USA, 7:23-CV-1565-M )
Robert A. Kidd v. USA, 7:23-CV-1489-FL          )
Cometto Davis v. USA, 7:23-CV-43-BO             )
Jose Vidana v. USA, 7:23-CV-1575-M                        j
Scott Keller v. USA, 7:23-CV-1501-FL            )
Edgar Allen Peterson, IV v. USA, 7:23-CV-1576-M )
Gary McElhiney v. USA, 7:23-CV-1368-BO          )
Diane Rothchild v. USA, 7:23-CV-858-D           )
Robert Welch v. USA, 7:23-CV-1503-FL            )
Richard Sparks v. USA, 7:23-CV-682-M            )




         The Court ' s recent Order Regarding Track I Trial Plaintiff Selection Protocol , [D.E. 232]

 (Case Management Order No. 12, or " CMO 12"), limited eligibility for selection as a Track I Trial

 Plaintiff to plaintiffs "waiving their rights to allege that any other illnesses or injuries besides Track




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I Illnesses (and those injuries or conditions stemming from a Track I Illness or its treatment) were

caused by the water at Camp Lejeune. " 1 See [D. E. 232] I. CMO 12 also required that after the

Plaintiffs' Leadership Group ("PLG") obtained waivers from proposed Track I Trial Plaintiffs, the

"Defendant shal l propose those plaintiffs to the court to proceed to trial[,]" before the Court would

confirm designation of the Track I Trial Plaintiffs. See id. The Plaintiffs informed the United

States on June 25 , 2024, that for the plaintiffs proposed as Track I Trial Plaintiffs, they have

obtained waivers for non-Track I Illnesses or injuries, and the selected Track I Plaintiffs will

proceed only with Track I Illnesses (and inju ries or conditions stemmi ng from a Track I Illness

or treatment). These waivers have been confirmed in the joint motion . Accord ingly, it is so:

         ORDERED that the plaintiffs designated as Track I Trial Plaintiffs are as fo llows:

                                            Bladder Cancer

           Jefferson Criswe ll v. USA                           Case No. 7:23-cv-01482-BO

           Terry F. Dyer v. USA                                 Case No . 7:23-cv-00357-D

            Mark A. Cagiano v. USA                              Case No. 7:23-cv-00569-BO

            Jimmy Laramore v. Un ited States                    Case No. 7:23-cv-00594-FL

            Edward Raymond v. United States                     Case No. 7:23-cv-00546-BO


                                            Kidney Cancer

             Frank Mousser v. USA                               Case No . 7:23-cv-00667-D

            Allan W. Howard v. USA                              Case No. 7:23-cv-00490-FL

           David W. Fancher v. USA                              Case No. 7:23-cv-00275-M




1
 The court establis hed the "Track I lllnesses" in Case Management Order No. 2, [D.E. 23) 8, spec ifi cally
(I) bladder cancer, (2) kid ney cancer, (3) leukemia, (4) Parkinson ' s disease, and (5) non-Hodgkin ' s
Lymphoma.

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      David Downs v. United States                       Case No. 7:23-cv-01145-FL

    Jacqueline Tukes v. United States                   Case No.7:23-cv-01553-BO


                                          Leukemia

       Joseph M. Gleesing v. USA                         Case No. 7:23-cv-0 1486-FL

Vivian Connard, Representative of Stephen                Case No. 7:23-cv-0 1557-M
           Matthew Connard v. USA
        Bruce W. Hill v. USA                             Case No. 7:23-cv-00028-M

      Robert Fio lek v. United States                   Case No. 7:23-cv-00062-BO

  Karen Marie Amsler v. Uni ted States                   Case No. 7:23-cv-00284-BO




                                Non-Hodgkin's Lymphoma

Frances Carter as Personal Representative of             Case No. 7:23-cv-0 1565-M
      the Estate of Ronald Carter v. USA
         Robert A. Kidd v. USA                           Case No. 7:23-cv-0 1489-FL

         Cornetta Davis v. USA                          Case No. 7:23-cv-00043-BO

      Jose Vidana v. Uni ted States                      Case No. 7:23-cv-0 1575-M

      Scott Keller v. United States                      Case No. 7:23-cv-0 150 I-FL


                                      Parkinson 's Disease

    Edgar Allen Peterson , IV v. USA                     Case No.7:23-cv-0 1576-M

        Gary McElhiney v. USA                            Case No . 7:23-cv-0 1368-BO

         Diane Rothchild v. USA                          Case No. 7:23-cv-00858-D

      Robert Welch v. United States                      Case No. 7:23-cv-0 1503-FL




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        Richard Sparks v. United States                    Case No. 7:23-cv-00682-M


       IT IS FURTHER ORDERED that within 10 days of the entry of this Order, all Track l

Trial Plaintiffs shall amend their Short Form Complaints to remove waived allegations that any

illnesses or injuries besides Track I Illnesses (and those injuries or conditions stemming from a

Track l Illness or its treatment) were caused by the water at Camp Lejeune.

       IT IS FURTHER ORDERED that fact discovery for the Track 1 Trial Plaintiffs, including

general discovery, shall conclude on August 11, 2024.

       IT IS FURTHER ORDERED that discovery and all deadlines for Track I Discovery Pool

Plaintiffs, [D.E. 130] 1-3, not selected as one of the Track I Trial Plaintiffs are STAYED.

                        9th day of July, 2024.
       SO ORDERED. This __



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         E.
         CHARD MYERS II                                    ~A'~
       Chief United States District Judge                   United States District Judge



       LOUISE W. FLANAGAN
       United States District Judge                         United States District Judge




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